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                        EXHIBIT 53
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


JEREMY LEVIN and DR. LUCILLE LEVIN,

                           Plaintiffs,        No. 09-cv-5900 (JPO)(RLE)

            -against-

THE BANK OF NEW YORK MELLON,
JPMORGAN CHASE & CO., JPMORGAN
CHASE BANK, N.A., SOCIETE GENERALE
and CITIBANK, N.A.,

                           Defendants.


JPMORGAN CHASE BANK, N.A.,

                    Counterclaim-Plaintiff,

            -against-

JEREMY LEVIN and DR. LUCILLE LEVIN,

                   Counterclaim-Defendants.


JPMORGAN CHASE BANK, N.A.,

                   Third-Party Plaintiff,

            -against-

KASSIM TATIDEEN, et al.,

                   Third-Party Defendants.



             STIPULATION AND ORDER REGARDING DISCLAilvIER
           OF INTEREST AND DISCHARGE AS TO BLOCKED ACCOUNT




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       This Stipulation and Order is entered into by and between defendant/third-party plaintiff

JPMorgan Chase Bank, N.A. ("JPMCB") and third-party defendant Kassim Tajideen

("Tajideen").

       WHEREAS:

       a.       In an action in the United States District Court for the District of Columbia

entitled Levin et al v. Islamic Republic ofIran et al., No. 05-2494, plaintiffs Lucille Levin and

Jeremy Levin (the "Levins") obtained a judgment dated February 6, 2008, in the total amount of

$28,807,719, against the Islamic Republic of Iran ("Iran") and other Iranian governmental

agencies (the "Judgment"). The Judgment was later registered in this Court as Docket Number

Ml 8-302 and has since been satisfied only in part.

       b.       As part of their effort to enforce the Judgment, the Levins commenced this

proceeding in 2009 to obtain the turnover under§ 201(a) of the Terrorism Relieflnsurance Act

of2002 ("TRIA") or§ 1610 of the Foreign Sovereign Immunities Act ("FSIA") of the funds in

various blocked accounts established and held by JPMCB and other financial institutions.

       c.       On November 15, 2017, as authorized by this Court's Opinion and Order filed

October 27, 2017 (Doc. No. 1106), the Levins filed a "Supplemental Complaint Pursuant to

N.Y.C.P.L.R. § 5225 and Court Order Dated October 27, 2017" (the "Supplemental Complaint,"

Doc. No. 1110) seeking the turnover of a blocked deposit account, ending in 6923 (the "Blocked

Account"), held by JPMCB and established on or about October 1, 2012 by JPMCB and

American Life Insurance Company- Lebanon Branch ("Alica-Lebanon") in the name of

Tajideen. The funds in the Blocked Account, which as ofNovember 30, 2016 were in the sum

of$355,892.25 and which continue to accrue interest, represent the surrender value of two

insurance policies that Tajideen purchased from Alica-Lebanon before he was designated by the
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U.S. Treasury Department's Office of Foreign Assets Control ("OFAC") as a Specially

Designated Global Terrorist ("SDGT") under 31 C.F.R. § 594.310. Details of the Blocked

Account are set forth in a spreadsheet annexed as Exhibit D to the Supplemental Complaint, and

that spreadsheet is annexed as Schedule A to this Stipulation and Order.

       d.      The Supplemental complaint alleges that Tajideen has a sufficient nexus with Iran

to make the Blocked Account subject to execution under TRIA § 201 and FSIA § 1610(g).

       e.      To determine the rights of all parties with an interest in or claim to the funds in

the Blocked Account, and thereby to insure against the risk of multiple or inconsistent

obligations with respect to those funds, JPMCB filed a third-party complaint in interpleader (the

"Interpleader Complaint") on January 12, 2018 in response to the Supplemental Complaint (the

"Interpleader Action"). The Interpleader Complaint names as third-party defendants all parties,

including Tajideen and other judgment creditors ofiran, wi0 an actual or potential interest in the

Blocked Account except for those who had disclaimed any such interest before the filing of the

Interpleader Complaint.

       f.      Tajideen asserts that neither the Blocked Account nor any other assets in which he

has an interest arc subject to execution, under TRIA § 201 or FSIA § 161 O(g), by the Levins or

any other judgment creditors ofiran or of the Revolutionary Armed Forces of Colombia (known

as the "FARC"). Tajideen denies that he has any association, affiliation or relationship with Iran,

the FARC or any terrorist organization, and asserts that OFAC's designation of him as an SDGT

was improper, without basis, and unlawful.

       g.     Nevertheless, whatever his interest in the Blocked Account, and due exclusively

to the expense and inconvenience of litigation and other factors having nothing to do with the

merits of any party's claim to the Blocked Account, Tajideen has decided not to participate in the
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Interpleader Action and will be filing no answer or other response to the Interpleader Complaint.

Tajideen instead disclaims an interest of any kind in the Blocked Account and is prepared to

relinquish and surrender, with prejudice, any claim to the Blocked Account that he otherwise

has. In doing so, Tajideen makes no admission as to any allegation against or about him in the

Interpleader Action.

        h.       As to any other assets, besides the Blocked Account, in which Tajideen has or

may have an interest, Tajideen preserves any such interest and all of his defenses, claims and

rights in any pending or future proceeding, in any forum, in which any one or more such assets

are at issue.

        i.       Tajideen's purpose in entering into this Stipulation and Order is to effectuate his

withdrawal from the Interpleader Action, and the relinquishment of his claim to the Blocked

Account, without inconvenience and legal expense and without w(living, in any other pending or

future proceeding (including but not limited to in the Levins' proceeding except as to the

Blocked Account), any defense or claim, including but not limited to any defense to allegations

that Tajideen has been properly identified as an SDGT, that he has funded terrorist organizations

such as Hizbollah or the FARC, or that he has other improper or unlawful connections to such

organizations.

        NOW, THEREFORE, IT IS HEREBY STIPULATED AND ORDERED as follows:

        I.       Any and all claims, rights and interests that Tajideen ever had, now has or may

hereafter have in or to the Blocked Account are hereby relinquished, surrendered, terminated and

extinguished with prejudice. Tajideen covenants and agrees not to assert, at any time, a claim

against JPMCB as to the Blocked Account in any court or tribunal anywhere in the world.



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       2.      In light ofTajideen's relinquishment of any claim to the Blocked Account,

JPMCB hereby agrees to withdraw with prejudice, under Fed. R. Civ. P. 4l(c), its claim against

Tajideen in the Interpleader Action. That dismissal shall be deemed to have been effected upon

the Court's entry of this stipulation as an order, and neither party need thereafter file any other

document to effectuate the dismissal.

       3.      In consideration ofJPMCB's withdrawal with prejudice of its claim against

Tajideen in the Interpleader Action, Tajideen hereby discharges and releases JPMCB from any

and all liability and obligations of any kind whatsoever, and from any claims that Tajideen may

have, with respect to the Blocked Account and the funds therein.

       4.      Tajideen has no objection to, and will not oppose the entry of, any future order or

judgment of this Court or any other court (i) awarding the funds in the Blocked Account to the

Levins or any another person or entity, and (ii) discharging JPMCB from any liability to any

person or entity, including Tajideen, with respect to the Blocked Account and the funds therein.

Tajideen agrees not to contest the validity of any such order or judgment in any future

proceeding in this or any other court.

       5.      Nothing in this Stipulation and Order shall operate as an admission by or against

Tajideen or have any collateral estoppel or res judicata effect in any other judgment enforcement

or other proceeding, including but not limited to any future proceedings in the Levins' action

resulting from the Levins' assertion of new claims to any blocked assets separate from and

unrelated to the Blocked Account.

       6.      It is Tajideen's intention that this Stipulation and Order not convey to any party

any defenses, possessed by Tajideen, that relate to the Blocked Account, and Tajideen does not

authorize any attempt by a party other than himself to assert such a defense to the turnover of the
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funds in the Blocked Account. Tajideen reserves the right to contend in any future proceeding

that an adjudication of any such defense in this Interpleader Action was not made in response to

any position taken on his behalf and is not binding on him.

         7.     This Stipulation and Order is tantamount to a final judgment, within the meaning

of Fed. R . Civ. P. 54(b), with respect to (i) Tajideen's claim to, right to or interest in the Blocked

Account; and (ii) the discharge and release of JPMCB from any liability or obligation to

Tajideen, of any kind whatsoever, as to the Blocked Account. The material terms of this

Stipulation and Order may be incorporated, by reference or otherwise, into any final turnover

judgment that covers the Blocked Account and that is entered in this Court, or in any other court,

upon the conclusion of JPMCB's interpleader action and the Levins' turnover proceeding. This

Stipulation and Order shall not, however, be deemed or construed as an admission by Tajideen in

any other proceeding.

         8.     Nothing in this Stipulation and Order shall limit, restrict, alter or otherwise affect

the right of JPMCB to recover out of the Blocked Account its attorneys' fees and expenses

incurred in connection with JPMCB's interpleader action.

         9.     JPMCB and Tajideen agree that, between the time this Stipulation and Order is

signed by all of them and the time it is so-ordered by the Court, the Stipulation and Order shall

be fully binding on all of them and of no less force and effect than when it is so-ordered.

         10.    This Stipulation and Order may be executed by email and in counterparts.

Dated:              March /L-;-2018

JPMORGAN CHA~                 NK, N .A.                KASSIM TAJIDEEN
                                                           ~      - ' \a
By:            ./     ~                                By:     ~'&--~
Name: Andrew N. Keen                                        Kassim Tajideen
Title: Senior Vice President and

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Associate General Counsel
SO ORDERED:



                                               March 13, 2018




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                                                                           Name of            Orip;in of                                   Originating                        Intermediary                         Beneficiary
                            Balance As                     Blocked
 Account       Account                                                    Blockable                                                                          Senders                              ReceivefS
                                of           Ctmency       Account                            Blocked         Program       Originator     Financial                            Financial                           Financial      Beneficial)'
  Title        Number                                                    Individual or                                                                     Correspondent                        Correspondent
                            11/30/2016                     Location
                                                                             Eotitv
                                                                                               Funds                                       Institution                         Institution                         Institution

BLKACC     -       6923     355,892 25         USD           New          KASSIM             MetLlfe's       31CFR594          N/A            NIA               NIA               NIA                NIA              NIA             NIA
MEILIFE                                                      York       MOHAMMAD             Blocked
 (SDG1)                                                                  TAJIDDINE           Property
                                                                                                (See
                                                                                            Comments)


           This account contains MetLife's blocked property in which JPMC is holding on their bebalf The cash held within this account represents the SllfTCndered value of the two insurance policies a life insurance policy and a peisonal
Comments   accident policy for Kassim Mohammad Tajiddine ("Tajiddine") The policies were purchased by Tajiddine on 7/28/2001 prior to OFAC SDN designation and were sold by the Sleiman Agency on behalf of American Life
           Insurance Company's Lebanon branch an insurance company that was acquired by MetLife in 20 l 0
